Case 6:12-cr-00076-JRG-KNM             Document 55       Filed 05/10/13      Page 1 of 2 PageID #:
                                              172



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §                        CASE NO. 6:12CR76(1)
                                                  §
JAMES CLINTON SQUIRES                             §



                ORDER ADOPTING THE REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE


         The above-styled matter was referred to the Honorable Judith K. Guthrie, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Guthrie conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued her Report and Recommendation (document #51) on April 16,

2013. Judge Guthrie recommended that the Court accept Defendant’s guilty plea and conditionally

approve the Fed.R.Crim.P. 11(c)(1)(C) plea agreement. She further recommended that the Court

finally adjudge Defendant as guilty of Count 1 of the Indictment filed against Defendant in this

cause.

         The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

Report and Recommendation of the United States Magistrate Judge (document #51) is ADOPTED.

It is further




                                                 -1-
Case 6:12-cr-00076-JRG-KNM            Document 55       Filed 05/10/13     Page 2 of 2 PageID #:
                                             173

      .
          ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

It is finally

          ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT

OF GUILTY against the Defendant as to Count 1 of the Indictment.
      SIGNED this 19th day of December, 2011.
          So ORDERED and SIGNED this 10th day of May, 2013.




                                                -2-
